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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF KANSAS
                             KANSAS CITY DISTRICT

FRONTIER AG, INC.                                  )
                                                   )
                    Plaintiff,                     )       Case No. 2:18-CV-02352
                                                   )
v.                                                 )
                                                   )
NUSEED AMERICAS INC.                               )
                                                   )
                    Defendant.                     )

                         DESIGNATION OF PLACE OF TRIAL

     Plaintiffs designate Kansas City, Kansas as place of trial.

                                               Respectfully submitted,

                                               /s/Court T. Kennedy          .
                                               Court Kennedy (KS. No. 22067)
                                               Gates Shield Ferguson Swall Hammond, P.A.
                                               Court T. Kennedy
                                               10990 Quivira; Suite 200
                                               Overland Park, KS 66210

                                                         And


                                               /s/Steven L. Theesfeld        .
                                               Steven L. Theesfeld (MN #216860
                                               (Applying for Pro Hac Vice)
                                               Yost & Baill, LLP
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